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 1   BARRY J. PORTMAN
     Federal Public Defender
 2   ELIZABETH M. FALK
     Assistant Federal Public Defender
 3   19th Floor Federal Building – Box 36106
     450 Golden Gate Avenue
 4   San Francisco, CA 94102
     Telephone: (415) 436-7700
 5
     Counsel for Defendant RAVEN
 6

 7

 8                          IN THE UNITED STATES DISTRICT COURT

 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             )             No. CR-07-671 JSW
                                           )
12                     Plaintiff,          )
                                           )             STIPULATION AND [PROPOSED]
13   vs.                                   )             ORDER TO CONTINUE SENTENCING
                                           )             DATE
14   PATRICE RAVEN,                        )
                                           )             Date: March 6, 2008
15                     Defendant.          )             Time: 2:30 p.m.
                                           )             Court: The Honorable Jeffrey S. White
16   _____________________________________ )

17

18          Undersigned counsel stipulate as follows:

19          1.     Sentencing in this matter is currently set for March 6, 2007, at 2:30 p.m.;

20          2.     As noted in the Addendum to the Presentence Report in ¶¶ 2-4, Ms. Raven has an

21                 outstanding objection to the Presentence Report regarding her Criminal History

22                 Category. The objection is to Paragraph 40 of the Presentence Report, as there is

23                 a discrepancy with the sentence reported by the clerk and the sentence Ms. Raven

24                 remembers serving, as well as the form of punishment that sentence took

25                 (electronic monitoring vs. jail time);

26          3.     The documents related to this conviction have been requested by the Probation

     Raven, CR 07-00671 JSW
     STIP. TO CONTINUE SENTENCING DATE               1
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 1                 Department on numerous occasions. To date, the documents from Costa Contra

 2                 County are not available to the parties;

 3          4.     The aforementioned conviction affects Ms. Raven’s ultimate Criminal History

 4                 category. The length of the sentence will dictate whether or not Ms. Raven is in

 5                 Criminal History category II or III. It is not clear that the documents will be

 6                 available by the sentencing date, and as of today, defense counsel is unable to

 7                 finish a complete sentencing memorandum without the documentation;

 8          5.     Defense counsel has also asked an investigator at her office to obtain the file for

 9                 this conviction to obtain the necessary sentencing documents, and to ensure that

10                 she has all the documents in the file regarding whether or not the sentence was

11                 later reduced or modified;

12          6.     To ensure that the records of this conviction are available to the parties and the

13                 Court for sentencing, and that Ms. Raven’s counsel has adequate time to address

14                 the proper Criminal History category in her Sentencing Memorandum, the parties

15                 jointly request a two-week continuance of the sentencing, to March 20, 2008 at

16                 2:30 p.m.;

17          7.     USPO Joshua Sparks has been contacted by government counsel, and has no

18                 objection to a continuance of the sentencing date to March 20, 2008 at 2:30 p.m.

19   IT IS SO STIPULATED

20   Dated: February 28, 2008                     ___________/S/_______________________
                                                  ELIZABETH M. FALK
21                                                Assistant Federal Public Defender

22
     Dated: February 28, 2008                     ___________/S/__________________________
23                                                ALLISON M. DANNER
                                                  Assistant United States Attorney
24

25                                       [PROPOSED] ORDER

26          GOOD CAUSE APPEARING, it is hereby ORDERED that the sentencing date in the

     Raven, CR 07-00671 JSW
     STIP. TO CONTINUE SENTENCING DATE               2
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 1   aforementioned matter currently set for March 6, 2008, is vacated. The sentence date shall be

 2   continued to March 20, 2008 at 2:30 p.m.

 3

 4          IT IS SO ORDERED.

 5
           February 29, 2008
     Dated:______________________                ______________________________________
 6                                               THE HONORABLE JEFFREY S. WHITE
                                                 UNITED STATES DISTRICT JUDGE
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     Raven, CR 07-00671 JSW
     STIP. TO CONTINUE SENTENCING DATE              3
